Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

UNITED STATES DISTRICT COURT

for the
Middle District of Florida [=]

ORL AWD 9 Division

Jana D LaBonte

2741 Night Hawk Ct )  CaseNo. Ww Aecy-SYA- PUb- EAC
Longwood , Fl ) (to be filled in by the Clerk's Office)
= = 32779 _ _ )
Plaintiff(s) ) me
(Write the full name of each plaintiff who is filing this complaint. was Gy
If the vuimee of all eotatnl as oie ‘fit fe ae jee ) Jury Trial: (check one) L_]ves No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
-V- rm
) =
) a
Advent Health ) =
800 Hope Way a
Altamonte Springs , FI ) ~~
- 32714 ) ;
Defendant(s) ) 3 2
(Write the full name of each defendant who is being sued. If the ) ae 3
names of all the defendants cannot fit in the space above, please ) c ve
write “see attached” in the space and attach an additional page a
with the full list of names.) ©

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name Jana D LaBonte

Street Address 2741 Night Hawk ct -

City and County Longwood Seminole -

State and Zip Code FI327799 st” BS

Telephone Number (918)617-51 01 - - -

E-mail Address janalabonte2824@gmail.com -
B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

Name Advent Health

Job or Title (if known) Scheduler

Street Address 800 Hope Way

City and County Altamonte Springs Seminole
State and Zip Code FI 32714

Telephone Number (407) 357-1000

E-mail Address (if known)

Defendant No. 2

Name

Job or Title (known)
Street Address

City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if own)
Street Address

City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (known)
Street Address

City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

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Il.

Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

Name Advent Health
Street Address 600 Courtland St
City and County Orlando Orange
State and Zip Code Fl 32804
Telephone Number (407) 612-7165

Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

LO

Oo oO dO

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000¢ to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VI, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal law):

Relevant state law (specify, if known):

Relevant city or county law (specify, if known):

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Date of Loss
Expense Lists

Re-Training School , Books , Rent , and all housing costs
$1,000,000.00

Medication from the year of 2022 $459.00

Physicians 2022 - Including deductibles , Physicians costs &
Travel costs $4596.00

Moving due to loss of job $ 5200.00

Job Loss Explanation @ 20.00 an hour X 40hours a week is
$800.00

Monthly Rent $1200.00
Utilities $ 640.00

Food $ 600.00

Auto Insurance $ 200.00

Permanent Emotional Scaring and Distress Compensation
$1,000,000.00

Having to relocate to Oklahoma due to loss of job
Jana D LaBonte
2741 Night Hawk Ct
Longwood , Fl

32779

United States District Court

Middle District of Florida

George C Young Annex Courthouse
401 West Central Blvd

Orlando , Fl

32801

From 02/15-03/07/22 | trained under a supervisor by the name of

Dominique Frailoi at the location of 600 Courtland St in Orlando
Fl.

Dominique had singled me out from the beggining with emotional
abuse after being candid about my disability Epilepsy . | am
making a complaint of descrimination of 1,000,000.00 .

Thank You

Jana LaBonte
2741 Night Hawk Ct
Longwood ,Fl

32779

janalabonte2824@gmail.com
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nit.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check ail that apply):

HUOSONC

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify):

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
Sederal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
2/15-3/7/22
C. I believe that defendant(s) (check one):

Vv]
L

is/are still committing these acts against me.

is/are not still committing these acts against me.

D. Defendant(s) discriminated against me based on my (check all that apply and explain):

NSUUOOOO

race

color

gender/sex

religion

national origin

age (vear of birth) (only when asserting a claim of age discrimination.)

disability or perceived disability (specify disability)

E. The facts of my case are as follows. Attach additional pages if needed.

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(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
On (date)

B. The Equal Employment Opportunity Commission (check one):
has not issued a Notice of Right to Sue letter.
[ | issued a Notice of Right to Sue letter, which I received on (date)

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

CJ 60 days or more have elapsed.
less than 60 days have elapsed.

V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,

and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A, For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: 03/17/2022

Signature of Plaintiff Jana D LaBonte

Printed Name of Plaintiff | Jana D LaBonte

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm

Street Address

State and Zip Code

Telephone Number

E-mail Address

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c. List monies received during the last twelve (12) months into your hands, into
banks, savings and loan associations, prisoner accounts, other financial
institutions, or other sources as indicated below:

Business, profession, or other forms of

self employment:

Rent payments, interest, or dividends:

Pensions, annuities, or life insurance payments:

Gifts or inheritances:

Stocks, bonds, or notes:

F FA fF HH FH HF

Other sources:

3. Obligations: 5%
. s 1A6

a. Monthly rental on house or apartment:

b. Monthly mortgage payments on house: $

Other information pertinent to affiant’s financial debts and obligations:

Coedit One 1500 202”

(Creditor) (Total Debt) (Monthly Payment)

Tomei fied Coed 15}. y00~
GCank a ee! 3| OW De )& Moa EY

(Creditor) (Total Debt) (Monthly Payment)

Other (explain): Civina on Credit Cards fac 4.
J

VII. FOR PRISONER AFFIANTS ONLY:

1. Date(s) of incarceration:
2. Estimated release or parole date:
3. A copy of the prisoner’s account statement containing all transactions in affiant’s prisoner

account for the six (6) months immediately preceding the filing of the Complaint or

Petition must accompany this Affidavit. The account statement must be obtained from an

authorized official of each prison at which the prisoner is or was confined during this period
of time. The account statement must be in the form of a computer printout or bank ledger card

prepared by the institution or an account statement prepared by an authorized officer of the
institution. Failure to provide this account statement may result in the dismissal of this

action.

The requirement to submit the account statement does not negate the prisoner affiant’s responsibility
to ensure that the Affidavit Certificate found on page 6 of this Affidavit of Indigency is also properly

executed and filed.

VII. ALL AFFIANTS MUST READ AND SIGN:

IUNDERSTAND that any false statement(s) ofa material fact contained herein may serve as the basis
of prosecution and conviction for perjury or making false statements. FURTHER, I CERTIFY that all

questions contained herein have been answered and are true and correct to the best of my knowledge and

~ Canal) LeBarke

Signature of Affiant

STATE OF FLORIDA
COUNTY OF _ Seminole

THE FOREGOING INSTRUMENT WAS ACKNOWLEDGED BEFORE ME THIS ___1°7

DAY OF March 20.22, BY_ JANA Dawn Labonté
(Insert Name of Person Acknowledged)

WHO IS PERSONALLY KNOWN TO ME OR WHO HAS PRODUCED
EKhIGhOMa Dl __, AS IDENTIFICATION AND WHO@ID)) DID NOT)

(State Type of Identification)

TAKE AN OATH.

i SS Ss KRISTY ANDERSON
= di | Notary Public - State of Florida
y ” BE Commission # GG 350950

My Comm. Expires Jui 1, 2023

ARY PUBLIC

MY COMMISSION EXPIRES:
Jana D LaBonte

P.O.BOX 576

Eufaula , OK

74432
janalabonte2824@gmail.com

(918)617-5101

United States District Court

Middle District of Florida

George C. Young Annex Courthouse
401 West Central Boulevard

Orlando, Florida 32801

Dear United States District Court ,
lam entering in my former address as :
2741 Night Hawk Ct

Longwood FI 32779

| am entering in my new address as:
P.O. BOX 576

Eufaula , Ok. 74432

Thank You

Jana LaBonte
